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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   CHRISTINE BIROS,                              )
         Plaintiff                               ) 2:23 cv 00297
                                                 )
              v.                                 )
                                                 )
   SHANNI SNYDER et al,                          )
               Defendants.                       )

                BRIEF IN SUPPORT OF THE MOTION TO DISMISS

       AND NOW COMES Defendant J. Allen Roth, Esq., and files this, his Brief in

Support of the Motion to Dismiss, Motion for Judgment on the Pleadings, or, in the

alternative, Motion to Strike redundant, immaterial, impertinent, or scandalous

matter.


  I.   INTRODUCTION

       The entire crux of this lawsuit is that a company, U Lock Inc., represented by

the undersigned, and operated in part by George Snyder and Kash Snyder, stated

in the past and currently that Shanni Snyder is not an “employee” of U Lock. In

other words, Ms. Snyder received no money from U Lock and no salary. She

received no W-2 form and no 1099 form because she did not receive payment.

Therefore, when asked if Ms. Snyder was employed by U Lock, the response was

“no.” This is the simple understanding and a fair, reality based, conclusion.

       On the other hand, according to Shanni Snyder, in 2021, an agent from the

Department of Labor visited a property she resides at and, through the interaction,

she learned that the Fair Labor Standards Act defines employment and employee in

a much more broad sense. After this, Shanni Snyder wanted paid for various work.

       Specifically, the FLSA defines “employ” broadly as including “to suffer or

permit to work,” 29 U.S.C. 203(g), which clearly covers more workers as employees,
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see U.S. v. Rosenwasser, 323 U.S. 360, 362-63 (1945). The “suffer or permit”

standard was specifically designed to ensure as broad of a scope of statutory

coverage as possible. Rosenwasser, at 362-63 (“A broader or more comprehensive

coverage of employees…would be difficult to frame.”); Nationwide Mut. Ins. Co. v.

Darden, 503 U.S. 318, 326 (1992) (“employ” is defined with “striking breadth”).

       Christine Biros and her team of legal counsel cannot understand that there is

a distinction between a dictionary definition and a statutory definition so a plethora of

litigation now exists.

       Before this Court, Biros filed an abusive Complaint under the Racketeer

Influenced Corrupt Organizations Act complaining of certain alleged litigation tactics.

Using terms such as “based on information and belief,” the lawsuit contains various

insinuations into the content of attorney-client privileged communications, litigation

strategy, and attorney work product to try to turn an ordinary business dispute into a

RICO claim.

       The commingling of counsel in this lawsuit places him in the precarious

position of having to defend the actions of litigation adversaries, the clients, and

counsel at the same time.

       Adjudicating this RICO case will require that this Court collaterally attack

various Orders of the United States Bankruptcy Court, including its specifically

granting Shanni Snyder’s petition to place U Lock Inc. into bankruptcy and the denial

of Biros’ Motion to Dismiss, neither of which were appealed despite Biros’ active

participation in that case. In addition, this lawsuit collaterally attacks a judgment

against U Lock Inc. that Biros has no standing to attack and which only indirectly

affects her.
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       Because RICO's breadth can have unintended consequences in civil suits,

courts should "strive to flush out frivolous RICO allegations at an early stage of the

litigation" and "lookout for the putative RICO case that is really nothing more than an

ordinary fraud case clothed in the Emperor's trendy garb." Schmidt v. Fleet Bank, 16

F. Supp. 2d 340, 346 (S.D.N.Y. 1998). RICO abuses, because of the negative

connotations of this type of lawsuit, are often criticised by the courts. Figueroa Ruiz

v. Alegria, 896 F.2d 645, 650 (1st Cir. 1990) (recognizing that mere assertion of

RICO claims may have stigmatizing effect on named defendants); Cornetta v. Town

of Highlands, 434 F. Supp. 3d 171, 179 (S.D.N.Y. 2020) (collecting New York district

court cases); In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1418 (3d Cir.

1997) (recognizing that fraud claims pose threat to business’ reputation); Limestone

Dev. Corp. v. Vill. of Lemont, 520 F.3d 797, 803 (7th Cir. 2008) (affirming dismissal of

RICO claim and warning against permitting a plaintiff “with a largely groundless claim

to simply take up the time of a number of other people, with the right to do so

representing an in terrorem increment of the settlement value, rather than a

reasonably founded hope that the [discovery] process will reveal relevant evidence”

(quoting Blue Chip Stamps v. Manor Drug Stores, 421 U.S. 723, 741 (1975)); Wagh

v. Metris Direct Servs., Inc., 348 F.3d 1102, 1108 (9th Cir. 2003), overruled on other

grounds by Odom v. Microsoft Corp., 486 F.3d 541, 551 (9th Cir. 2007); JST

Distribution, LLC v. CNV.com, Inc., No. CV-17-6264-PSG, 2018 WL 6113092, at *8

(C.D. Cal. Mar. 7, 2018); Sky Medical Supply Inc. v. SCS Support Claims Services,

Inc., 17 F. Supp. 3d 207, 220 (E.D.N.Y. 2014) (noting that “plaintiffs wielding RICO

almost always miss the mark” which has resulted in “skepticism” toward civil RICO

claims).
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 II.    STANDARD OF REVIEW

       To survive a motion to dismiss under Rule 12(b)(6), a complaint must make

allegations with sufficient factual detail under Rule 8(a) that, if those allegations were

assumed to be true, the Court could reasonably infer liability. See Ashcroft v. Iqbal,

129 S. Ct. 1937, 1949 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556,

570 (2007)). Dismissal is appropriate if, accepting as true all the facts alleged in the

complaint, a plaintiff has not pleaded “enough facts to state a claim to relief that is

plausible on its face,” Twombly, 550 U.S. at 570, meaning enough factual allegations

“‘to raise a reasonable expectation that discovery will reveal evidence of’” each

necessary element. Phillips v. County of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008)

(quoting Twombly, 550 U.S. at 556); see also Kost v. Kozakiewicz, 1 F.3d 176, 183

(3d Cir. 1993) (requiring a complaint to set forth information from which each

element of a claim may be inferred).

        “Where a complaint pleads facts that are ‘merely consistent with’ a

defendant’s liability, it ‘stops short of the line between possibility and plausibility of

‘entitlement to relief.’” Iqbal, 129 S. Ct. at 1949 (citing Twombly, 550 U.S. at 557);

       A complaint that alleges mere “‘labels and conclusions,’” “‘a formulaic

recitation of the elements of a cause of action,’” or “‘naked assertion[s]’ devoid of

‘further factual enhancement’” will not suffice. Iqbal, 129 S. Ct. at 1949 (quoting

Twombly, 550 U.S. 555, 557).

       In deciding a motion to dismiss, the Court properly considers the allegations in

the complaint, exhibits attached to the complaint, and matters of public record. See

Pension Benefit Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d

Cir. 1993).
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       The Court need not assume the plaintiff can prove facts that were not alleged

in the complaint, see City of Pittsburgh v. W. Penn Power Co., 147 F.3d 256, 263

n.13 (3d Cir. 1998), or credit a complaint’s “‘bald assertions’” or “‘legal conclusions,’”

Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997) (quoting In re

Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1429-30 (3d Cir. 1997)). “While

legal conclusions can provide the complaint’s framework, they must be supported by

factual allegations.” Iqbal, 129 S. Ct. at 1950.

       As to allegations of fraud, which this RICO action primarily consists of, require

allegations with particularity pursuant to Fed. R. Civ. Proc. 9(b). Sedima, S.P.R.L. v.

Imrex Co., 473 U.S. 479, 496 (1985); see also Lum v. Bank of Am., 361 F.3d 217,

223 (3d Cir. 2004) (“Where, as here, plaintiffs rely on mail and wire fraud as a basis

for a RICO violation, the allegations of fraud must comply with Federal Rule of Civil

Procedure 9(b), which requires that allegations of fraud be pled with specificity.”),

abrogation on other grounds recognized by In re Ins. Brokerage Antitrust Litig., 618

F.3d 300, 323 n.22 (3d Cir. 2010).

       A RICO conspiracy claim cannot survive where the plaintiff fails to provide

evidence of “‘an endeavor which, if completed, would satisfy all of the elements of a

substantive [RICO] offense.’” In re Ins. Brokerage, 618 F.3d at 373 (quoting Salinas,

522 U.S. at 65) (alteration in the original); see also Lightning Lube, Inc. v. Witco

Corp., 4 F.3d 1153, 1191 (3d Cir. 1993).

III.   DISCUSSION

       a. The Complaint Fails to Show an Association in Fact and the RICO
          Enterprise is not Distinct from Shanni Snyder

       As to Counts I and II, a RICO “enterprise” must constitute an entity distinct

from the RICO “person.” The United States Supreme Court has held that “to

establish liability under § 1962 one must allege and prove the existence of two
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distinct entities: (1) a ‘person’; and (2) an ‘enterprise’ that is not simply the same

‘person’ referred to by a different name.” Cedric Kushner Promotions, Ltd. v. King,

533 U.S. 158, 161 (2001). In other words, Defendant must be the “person” who

conducts the “enterprise's” affairs through a pattern of racketeering activity, and the

person/defendant must be separate and distinct from the “enterprise.” Schwartz v.

Lawyers Title Ins. Co., 680 F.Supp.2d 690,704 (E.D.Pa. 2010). The alleged “person”

who is “subject to liability [for a RICO violation] cannot be the same entity as the

‘enterprise.’ Gordon v. Pasquarello, No. CV 22-1565, 2023 WL 2505538 *16 (E.D.

Pa. Mar. 14, 2023).

       Courts may “‘reasonably assume that individuals and corporations have an

organizational structure, are continuous, and have an existence separate and apart

from any alleged pattern of racketeering activity.’” Freedom Medical v. Gillespie, 634

F. Supp. 2d 490, 504 (E.D. Pa. 2007) (quoting Price v. Amerus Annuity Group Co.,

MDL No. 1712, 2006 U.S. Dist. LEXIS 35980, at *9 (E.D. Pa. June 2, 2006)). If,

however, the alleged RICO enterprise has no legal existence and is instead an

association-in-fact, it “cannot reasonably be assumed to satisfy the elements of an

enterprise and the allegations of the complaint must therefore receive greater

scrutiny.” Id. at 505.

       A review of the Complaint makes it clear that every predicate act – except one

relating to a claim filed by George Snyder that has nothing to do with Biros – involve

legal filings made by Shanni Snyder. If successful, as Biros states, only Shanni

Snyder would receive the benefit of the lien instrument. Therefore, it is clear that no

enterprise exists, only Shanni Snyder exists.

       The allegations in the Complaint and RICO Case Statement appear to allege

parallel conduct, not a horizontal agreement or “concerted action” among all of these
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outer partners. In re Ins. Brokerage, 618 F.3d 300, 374 (3d Cir. 2010). In the words of

the Third Circuit, the arrangement resembles a “hub-and-spoke” system without any

connective, outer rim. Id.

        “[T]he existence of an enterprise is an element distinct from the pattern of

racketeering activity and ‘proof of one does not necessarily establish the other.’ ”

Boyle v. United States, 129 S.Ct. 2237, 2245 (2009). If, for example, “several

individuals, independently and without coordination, engaged in a pattern of crimes

listed as RICO predicates [,] ... [p]roof of these patterns would not be enough to

show that the individuals were members of an enterprise.” Id. (emphasis added). Nor

would proof of a conspiracy to commit a RICO predicate offense “necessarily

establish that the defendant[s] participated in the affairs of an ... enterprise through a

pattern of ... crimes.” Id. at 2246. Individuals’ separate and uncoordinated

commission of RICO predicate acts does not automatically create an enterprise. Id,

n. 4.

        While “a conspiracy is an inchoate crime that may be completed in the brief

period needed for the formation of the agreement and the commission of a single

overt act in furtherance of the conspiracy,” § 1962(c) “demands much more: the

creation of an ‘enterprise’—a group with a common purpose and course of

conduct—and the actual commission of a pattern of predicate offenses.” Id.

        Certainly, even if the events entailed more than just Shanni Snyder, Biros’

allegations do not demonstrate an association in fact.

        Therefore, the Complaint at Counts I and II fail because Biros failed to show

an association in fact or that the enterprise was distinct from Shanni Snyder.
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        b. The Complaint Contains Only Inferences as to Knowledge and
           Agreement
       To allege a RICO conspiracy, the complaint must allege facts to support both

the defendant’s agreement and his or her knowledge. Glessner v. Kenny, 952 F.2d

702, 714 (3d Cir. 1991), overruled on other grounds by Jaguar Cars, Inc. v. Royal

Oaks Motor Car Co., Inc., 46 F.3d 258, 260-261 (3d Cir. 1995). Thus, in Glessner the

Court upheld the dismissal of the plaintiffs’ § 1962(d) claims where the plaintiffs did

not allege agreement and knowledge, but instead argued that agreement and

knowledge could be inferred. Id. In other words, the plaintiff must show that a

defendant in a RICO conspiracy action “was aware of the essential nature and scope

of the enterprise and intended to participate in it.” United States v. Muskovsky, 863

F.2d 1319, 1324 (7th Cir. 1988).

       In this case, it is alleged that Shanni Snyder committed various RICO

predicate acts by filing legal papers. However, the alleged conspiracy contains no

factual support, only inferences. Bald and unsupported allegations do not satisfy the

pleading requirements for a RICO conspiracy. See Glessner, 952 F.2d at 714.

       Most of the paragraphs are on “information and belief” without citing any

source of the information. “Belief” certainly is not acceptable in this type of RICO

case. See Paragraphs 41, 45, 48, 49, 52, 65, 75, 76, 77, 85, 95, 98, 109, 112, 117,

157, 172, 175, 183, 198, and 201 (information and belief).

       As to the undersigned, the only allegations about participation in the purported

enterprise is:


       198. Roth participated in the Fake Lien Enterprise by, on information and belief,
       participating in the planning and organization of the same; by, on information and
       belief, advising George, Kash, and U Lock not to respond to Shanni’s complaint in
       the Wage Case; by filing U Lock’s application to the Supreme Court of Pennsylvania
       to stay remand of the Quiet Title Action even though he knew that U Lock did not
       intend to seek review in the U.S. Supreme Court; by filing and arguing the Petition to
       Strike in the Quiet Title Action and arguing to the Westmoreland Court that it should
       not have released to Biros the deeds to the Subject Property and that the
       Westmoreland Court should instead follow a procedure that would have exposed the
       Subject Property to the Fake Lien but could not under any circumstances have left
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       his client with title to the Subject Property; by delaying the filing of the notice of
       bankruptcy in the Quiet Title Action for three weeks after Shanni filed her petition that
       commenced the U Lock Bankruptcy; and by delaying the filing of that notice until two
       minutes after Shanni had entered her appearance in the Quiet Title Action and filed
       her notice of appeal in that action to the Superior Court.

       All of the “on information and belief” conjecture of privileged conversations

and work product constitutes nothing but an inference and is certainly not sufficient

to drag legal counsel into a RICO action.

       The absurdity of this vast conspiracy theory is that U Lock could have filed a

voluntary bankruptcy at any time under Chapter 7. It did not need Shanni Snyder to

do it. Nobody needed to enter into the dreamed up conspiracy.

       Similarly, the bankruptcy could have been filed earlier by U Lock and it would

have achieved the goals Biros alleges could have happened. In other words, if U

Lock filed bankruptcy in December 2021, or even on January 16, 2023, it would have

reorganized and it would have the property. The alleged conspiracy only served to

help Biros.

       There exists no factual allegations in the Complaint to support the inference

and conjecture that the undersigned told U Lock’s officers not to respond to the labor

Complaint. Rather, as the officers stated after being goaded into providing

attorney-client communications that it not admissible, is that the non-specific

question as to pricing of a federal suit would be at least $10,000 to defend. This

allegation, if true, does not support the inference that the undersigned told the client

not to respond or that a vast RICO conspiracy existed.

       “Lawyers look at allegations every time they are engaged to respond to a

lawsuit. They are not obliged to treat those allegations as true; to the contrary, they

recognize that a plaintiff is asserting only that it proposes to prove them, and they

evaluate the complaint to see what kind of a defense can be raised.” Domanus v.
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Locke Lord LLP, 847 F.3d 469, 480 (7th Cir. 2017) . The Domanus Court stated,

“Faced with a similar situation, the D.C. Circuit reached this commonsense

conclusion in a case in which the plaintiff alleged that a defendant law firm knew

about its client's wrongdoing. RSM Prod. Corp. v. Freshfields Bruckhaus Deringer

U.S. LLP, 682 F.3d 1043 (D.C. Cir. 2012). There the plaintiff had alleged that the law

firm knew about its client's bribery conspiracy from news reports about the bribery

and embezzlement scheme, the client's reputation for wrongdoing, and a prior

criminal conviction. Id. at 1048–50. The court concluded that ‘[t]hese allegations are

insufficient to establish a plausible inference that [the defendant law firm] was aware

of anything corrupt relevant to its provision of legal services…’ Id. at 1050.”

       “The fact that someone should have known about a scheme or fraudulent

activity is not enough to show that the person actually knew. Frost Nat'l Bank v.

Midwest Autohaus, Inc., 241 F.3d 862, 870–71 (7th Cir. 2001).

       An inference of knowledge through willful blindness requires that the

defendant “believe that there is a high probability that a fact exists” and “take

deliberate actions to avoid learning of that fact.” Global–Tech Appliances, Inc. v. SEB

S.A., 563 U.S. 754, 769, (2011). Only a subjective belief that there is a high

probability that the fact is true, coupled with deliberate steps to avoid learning the

fact, is equivalent to knowledge. See Chaney v. Dreyfus Serv. Corp., 595 F.3d 219,

240 (5th Cir. 2010) (“Neither awareness of some probability of illegal conduct nor a

showing that the defendant should have known is enough” to constitute the legal

equivalent of knowledge.).

       Even if there existed some knowledge, there would need to be an agreement.

The Complaint is also deficient on the question of agreement—a critical element of a
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RICO conspiracy case. See Brouwer v. Raffensperger, Hughes & Co., 199 F.3d 961,

967 (7th Cir. 2000).

       In order to raise an allegation of a conspiracy prohibited by section 1962(d),

the plaintiff must allege (1) that the defendant agreed to conduct or participate in the

affairs of an “enterprise,” and (2) that he agreed to the commission of two predicate

acts. Frost Nat. Bank v. Midwest Autohaus, Inc., 241 F.3d 862, 869(7th Cir. 2001).

Goren v. New Vision Int'l, Inc., 156 F.3d 721, 732 (7th Cir. 1998), holding modified by

Brouwer v. Raffensperger, Hughes & Co., 199 F.3d 961 (7th Cir. 2000). The

absence of either of these is fatal to the claim.

       Claims that lawyers have conspired with their clients are insufficient in the

absence of allegations that the arrangement involves more than standard legal

representation. See RSM Prod. Corp. v. Freshfields Bruckhaus Deringer U.S. LLP,

682 F.3d 1043, 1051-1052 (D.C. Cir. 2012).

       The allegations in the Complaint, subject to Rule 9’s requirement of specificity,

fail to allege knowledge and agreement needed to move forward on a RICO or RICO

conspiracy claim.


       c. The RICO Complaint Must Fail Because Biros Alleges the sole
           Purpose of the Enterprise was to defraud her

       According to the RICO Case Statement, Entry 15, page 11, question 7, states,

“The Fake Lien Enterprise exists for the sole purpose of advancing the racketeering

activity.” In response to question 8, pages 11-12, where Biros was to discuss “how

the racketeering activity differs from the usual and daily activities of the enterprise, if

at all.” Biros states, “The sole purpose for the existence of the Fake Lien Enterprise

is to interfere with Biros’s title to and possession of the Subject Property.”
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       A RICO enterprise requires that the common activities of the enterprise

extend beyond the minimal association necessary to sustain the pattern of

racketeering. Diamonds Plus, Inc. v. Kolber, 960 F.2d 765, 770 (8th Cir.1992) (“The

focus of the inquiry is whether the enterprise encompasses more than what is

necessary to commit the predicate RICO offense.”).

       “[A]n enterprise cannot simply be the undertaking of the acts of racketeering,

neither can it be the minimal association which surrounds these acts.” Stephens, Inc.

v. Geldermann, Inc., 962 F.2d 808, 815 (8th Cir.1992) (citation omitted) (holding that

plaintiff insufficiently pled a RICO enterprise because although “each member of th[e]

group carried on other legitimate activities, these activities were not in furtherance of

the common or shared purpose of the enterprise, and thus, were not acts of the

enterprise”). That each member of a group carries on activities distinct from the

pattern of racketeering is insufficient; the group as a whole must have a common link

other than the racketeering activity. McDonough v. National Home Ins. Co., 108 F.3d

174,177 (8th Cir.1997) (citations omitted) (emphasis added).

       “Proof the enterprise conducts lawful activity unrelated to the pattern of

racketeering will often serve to prove the enterprise is separate from the pattern of

racketeering.” Diamonds Plus, Inc., 960 F.2d at 770, 770 n. 5 (citations omitted).

       “In deciding whether an alleged RICO enterprise has an ascertainable

structure distinct from the pattern of racketeering activity,” the court must “determine

if the enterprise would still exist were the predicate acts removed from the equation.”

Crest Const. II, Inc. v. Doe, 660 F.3d 346, 354-355 (8th Cir. 2011) (quoting Handeen

v. Lemaire, 112 F.3d 1339, 1352 (8th Cir.1997)).

       As the Eighth Circuit noted in Crest Constr. II, where “the only common factor

that linked” the individually named defendants “and defined them as a distinct group
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was their direct or indirect participation” in a scheme to defraud the plaintiff, plaintiff

had not adequately pled a RICO enterprise, 660 F.3d at 355 (citing Stephens, 962

F.2d at 815–16).

       For this reason, Biros’ RICO claim that alleged the enterprise consisted of

nothing but an alleged plan to defraud her fails to allege a RICO enterprise.


       d. Biros’ RICO Complaint Must Fail Because of the Lack of Continuity
          and a Pattern of Racketeering as to the Alleged Enterprise


       In the RICO Complaint, Biros alleges sporadic events consisting of legal

filings that she claims constitutes an enterprise. However, she fails to allege any

continuity in the enterprise or a long term business. In its opinion in H.J. Inc. v.

Northwestern Bell Tel. Co., 492 U.S. 229 (1989), the Supreme Court set out its

second analysis of the requirements of civil RICO. The Court examined the statute

and its legislative history in an attempt to determine the elements of the pattern

requirement. From this review, the Court concluded that “to prove a pattern of

racketeering activity a plaintiff must show that the racketeering predicates are

related, and that they amount to or pose a threat of continued criminal activity.” Id. at

239.

       Under the first, or “relatedness,” requirement of the RICO statute, as

interpreted in H.J. Inc., predicate acts are related if they “have the same or similar

purposes, results, participants, victims, or methods of commission, or otherwise are

interrelated by distinguishing characteristics and are not isolated events.” Id. at 240,

109 S.Ct. at 2901.

       As for the second, or “continuity,” prong of the analysis, the Court in H.J. Inc.

attempted to promulgate a somewhat flexible approach, based upon a

“commonsense, everyday understanding of RICO's language and Congress' gloss
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on it.” Id. at 241, 109 S.Ct. at 2902. With this analytical approach in mind, the Court

decided that “[w]hat a plaintiff or prosecutor must prove is continuity of racketeering

activity, or its threat, simpliciter.” Id.

        In explicating how a plaintiff could make this continuity showing, the Court

described continuity as “both a closed- and open-ended concept, referring either to a

closed period of repeated conduct, or to past conduct that by its nature projects into

the future with a threat of repetition.” Id. “It is, in either case, centrally a temporal

concept,” id. at 241–42, 109 S.Ct. at 2902, so that a party may establish continuity

as a closed-ended concept by “proving a series of related predicates extending over

a substantial period of time.” Id. at 242, 109 S.Ct. at 2902 (emphasis added).

        Thus, H.J. Inc. makes clear that the continuity requirement can be met by

establishing long-term criminal conduct but does not define what length of time

qualifies as “substantial” for this purpose. The Court in H.J. Inc. also gave examples

of how the threat of continued racketeering activity might be demonstrated. One

example is that of a hoodlum who sells “insurance” to storekeepers to prevent the

breaking of their shop windows. Id.

        Since H.J. Inc., the Third Circuit faced the question of continued racketeering

activity in several cases, each time finding that conduct lasting no more than twelve

months did not meet the standard for closed-ended continuity. See Hughes v.

Consol–Pennsylvania Coal Co., 945 F.2d 594, 610–11 (3d Cir.1991) (fraudulent

conduct lasting twelve months does not establish closed-ended continuity); Hindes v.

Castle, 937 F.2d 868, 875 (3d Cir.1991) (eight month period of predicate acts without

a threat of future criminal conduct does not satisfy continuity requirement); Kehr

Packages v. Fidelcor, Inc., 926 F.2d 1406, 1413 (3d Cir.1991) (same); Banks v. Wolk,

918 F.2d 418, 422–23 (3d Cir.1990) (same); Marshall–Silver Constr. Co. v. Mendel,
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894 F.2d 593 (3d Cir.1990) (seven month single-victim, single-injury scheme does

not satisfy continuity requirement).

       The Third Circuit concluded that a scheme lasting over three years extends

over a “substantial” period of time and therefore constitutes the type of “long-term

criminal conduct” that RICO was enacted to address. See United States v. Pelullo,

964 F.2d 193, 209 (3d Cir.1992) (holding that a jury could find a nineteen month

period of racketeering activity sufficient to satisfy continuity requirement).

       The Supreme Court cautions, however, in H.J. Inc., that the existence of

continuity may not always be apparent. 492 U.S. at 243, 109 S.Ct. at 2902–03. For

example, the statutory definition of pattern is “at least two acts of racketeering

activity” within a ten year period. 18 U.S.C. § 1961(5). It is clear that ten years is a

period of long duration. Indeed, Justice White noted in a footnote that, while §

1961(5) defines a pattern of racketeering activity as requiring at least two acts of

racketeering activity, two acts may not be sufficient. Id. 473 U.S. at 496 n. 14, 105

S.Ct. at 3285 n. 14.

       In H.J. Inc. the Court states that open-ended continuity is established when

the commission of the predicate acts is “a regular way of conducting defendant's

ongoing legitimate business.” 492 U.S. at 243, 109 S.Ct. at 2902.

       In the present case, the alleged actions of Shanni Snyder in filing Court

documents does not appear to be the pattern of racketeering, but single isolated

occurrences and not a business at all.

       As the Supreme Court noted in Boyle v. United Statees, 556 US 938 (2019),

an enterprise necessarily must have “‘affairs’ of sufficient duration to permit an

associate to ‘participate’ in those affairs through ‘a pattern of racketeering activity.’”

556 U.S. at 946 (quoting 18 U.S.C. § 1962(c)). Boyle confirmed that, although a
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pattern of illegal activity may be sufficient to satisfy both the enterprise and

racketeering elements of a RICO claim, “the existence of an enterprise is an element

distinct from the pattern of racketeering activity and ‘proof of one does not

necessarily establish the other.’” 556 U.S. at 947.

       Certainly, it appears evidence that Biros failed to demonstrate continuity and a

pattern of racketeering.


       e. Biros’ Lacks Standing Because the Claims of Damage are
          Speculative

       Biros’ lawsuit asserts indirect damage in that she avers she has been

“delayed” in “taking both legal and equitable ownership of the Subject Property. It

delayed Biros’s ability to record her title to the Subject Property. It has delayed Biros

in taking possession of the Subject Property.” See RICO Case Statement, Entry 15,

Page 15, Questions 15-16.

       The documents attached by Biros indicate she received an obviously

objectionable ex parte Order to receive the deeds on January 20, 2022. She filed

the deeds on January 25, 2022. It appears unclear how any of the predicate acts

“delayed” her ability to record her title considering she did. The post-January 25,

2022, merely attacked the legality of her actions. With respect to Biros taking

possession, the United States Bankruptcy Court specifically granted Shanni Snyder’s

bankruptcy petition and Biros received partial possession through that proceeding.

Biros never appealed the bankruptcy court’s refusal to provide full possession to the

land. Neither counsel nor the other parties can be faulted through RICO with the

decision of the Bankruptcy Court when Biros could have appealed to this Court but

chose not to.
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       Biros’ claims are merely speculative and infer only a lost opportunity. See In

re Taxable Mun. Bond Securities Litigation, 51 F.3d 518, 521-522 (5th Cir.

1995)(farmer’s “lost opportunity” to obtain loan insufficient to constitute injury for

RICO standing); GFirst Nationwide Bank v. Gelt Funding Corp, 27 F.3d 763, 768-70

(2d Cir. 1994) (“risk of loss” is not injury ripe for RICO claim); Grantham & Mann, Inc.

v. Am. Safety Prods., Inc., 831 F.2d 596, 604-06 (6th Cir. 1987) (plaintiff failed to

show actual lost profits).

       Indeed, to have standing under § 1964(c), a plaintiff must allege: (1) “that his

alleged harm qualifies as injury to his business or property;” and (2) “that his harm

was ‘by reason of’ the RICO violation, which requires the plaintiff to establish

proximate causation.” Holmes v. Sec. Inv. Prot. Corp., 503 U.S. 258, 268 (1992);

Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985)).

       In connection with the first requirement, the necessary injury to business or

property requires tangible and concrete financial loss, rather than speculative or

uncertain harm. Guerrero v. Gates, 442 F.3d 697, 707 (9th Cir. 2006); Steele v. Hosp.

Corp. of Am., 36 F.3d 69, 71 (9th Cir. 1994). With respect to causation, “[t]he civil

RICO statute requires plaintiffs ‘to show that a RICO predicate offense not only was

a ‘but for’ cause of [their] injury, but was the proximate cause as well.’ ” In re

Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig., 349 F. Supp. 3d

881, 905 (N.D. Cal. 2018) (quoting Hemi Grp., LLC v. City of New York, 559 U.S. 1, 9

(2010)), aff'd, 842 F. App'x 112 (9th Cir. 2021). Reliance “on an ‘attenuated chain of

conjecture’ ” is insufficient to support proximate causation under § 1964(c). Salmon

Spawning & Recovery All. v. Gutierrez, 545 F.3d 1220, 1228 (9th Cir. 2008) (citation

omitted). The “central question” a court must ask when evaluating proximate
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causation with respect to RICO claims is “whether the alleged violation led directly to

the plaintiff's injuries.” Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006).

        Clearly, Biros’ sour grapes relating to Court proceedings does not meet the

test.   Therefore, Biros lacks standing to bring this claim on such a speculative “lost

opportunity” basis.



         f. The RICO Conspiracy Count Must Fail Because the Enterprise is Not
            Engaged in, or the Activities of Which, Affect, Interstate or Foreign
            Commerce.

        Count II is a conspiracy claim against the undersigned and others. 18 USC

1962(d) prohibits a conspiracy to violate the RICO provisions of 18 USC 1962(c)

apparently what was set out in Count I. However, 18 USC 1962(c) explains that, “It

shall be unlawful for any person employed by or associated with any enterprise

engaged in, or the activities of which affect, interstate or foreign commerce, to

conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs

through a pattern of racketeering activity or collection of unlawful debt.”

        The only thing nexus to interstate commerce that Biros alleges is found in

section 10 of the RICO Case Statement, which states, “The Subject Property

contains a self-storage space which, on information and belief, rents space to

individuals residing in multiple states. Further, the Subject Property is ripe for further

development that would affect commerce, including interstate commerce, if it were in

the hands of Biros, its proper legal owner. This commerce has been prevented by

the predicate acts and pattern of racketeering engaged in by the Defendants.”

However, these allegations do not involve the so-called lien enterprise, they involve

the U Lock and Biros enterprises which are not alleged enterprise that forms the

basis of the conspiracy.
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       On the contrary, the statute requires the enterprise to specifically engage in or

have activities of which affect interstate commerce. By Biros’ own admissions, the

sole activity of the enterprise was to file documents with various courts all located in

Pennsylvania.

       Indeed, Biros need to allege specific facts which “must show that the

conspiracy, if completed, would involve an enterprise that affected interstate or

foreign commerce.” United States v. Ernst, 502 F. Supp. 3d 637, 658 (D. Mass.

2020). To state that Biros might, if they possessed the property, engage in interstate

commerce appears merely speculative.



       g. Biros Failed to Allege the Elements of the Underlying Predicate Acts

       In a RICO Conspiracy, Biros is required to present a viable claim under

another subsection of 18 USC 1962. Howard v. American Online Inc., 208 F.3d 741, 751

(9th Cir.), cert. denied, 531 U.S. 828 (2000). To state a claim for RICO conspiracy, one must

successfully allege all the elements of a RICO violation, as well as an illicit agreement to

violate the substantive RICO provision. Grubbs v. Sheakley Group, Inc., 807 F.3d 785, 806

(6th Cir. 2016). Parties cannot be found guilty of conspiring to commit an act that is not itself

against the law. Cisneros v. Petland, Inc., 972 F.3d 1204, 1220 (11th Cir. 2020).


       g(1). Biros’ Three Bankruptcy Fraud Predicate Acts Fail

       Biros alleged three alleged bankruptcy fraud acts, two by Shanni Snyder, and one

allegedly by George Snyder. Biros does not allege the statute that forms the offense.

Rather, she just states, “fraud under Title 11.” However, there exists no common law fraud in

the bankruptcy code.

       Biros must plead fraud with particularity, not simply claim some unknown “offense” of

fraud. F.R.Cv.P. 9(b).
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       More concerning is that Congress exempted any predicate act derived from 18 USC

157. Specifically, the statute states, “any offense involving fraud connected with a case

under title 11 (except a case under section 157 of this title).” The first bankruptcy

predicate act is allegedly committing fraud by filing the involuntary petition. This is

specifically exempted as it is found at 18 USC 157(1). Next, Biros claims that Shanni

committed the fourth predicate act when she “filed” her proof of claim. Similarly, Biros

claimed that George committed the fifth predicate act when he “filed” his proof of claim. If

true, these actions appear to fall under 18 USC 157(2) and 157(3), both exempted from the

RICO definitions.

       Perhaps this is why Biros cited no specific bankruptcy offense. Regardless of the

reason, the failure to cite a specific offense means that the predicate acts must fail.



       g(2). Biros Fails to Plead Wire Fraud in Violation of 18 USC 1343

Paragraph 182 states:

       Shanni committed a predicate act of wire fraud pursuant to 18 U.S.C. 1343 on July
       14, 2021, when, with the intent to defraud or with intent to obtain property by means
       of false or fraudulent pretenses, she used the internet to transmit her complaint in the
       Wage Case to the District Court. Pursuant to Rule 11 of the Federal Rules of Civil
       Procedure, her signing and filing that complaint constituted her certification that the
       allegations of her complaint had factual support. In fact and on information and belief,
       many of Shanni’s allegations were false and had no evidentiary support. These
       allegations included Shanni’s assertion that she had been an employee of U Lock,
       that she had performed work for U Lock ten hours per day, every day, for more than
       four years, that U Lock had agreed to pay her for this work, and that she was entitled
       to payment of wages, straight and overtime, for this non-existent work.”

       However, The federal mail and wire fraud statutes prohibit the use of the mail

or interstate wires for purposes of carrying out any scheme or artifice to defraud. See

18 U.S.C. §§ 1341, 1343. Lum v. Bank of Am., 361 F.3d 217 223 (3d Cir. 2004) .

Biros fails to allege any use of interstate commerce in Shanni uploading a document

from her residence in Pennsylvania to a court in Pennsylvania. See e.g., Smith v.

Ayres, 845 F.2d 1360, 1366 (5th Cir. 1988) (affirming dismissal of RICO claim where
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there were no interstate telephone calls alleged in support of wire fraud predicate

act); McCoy v. Goldberg, 748 F. Supp. 146, 154 (S.D.N.Y. 1990) (dismissing RICO

claim where there were no interstate telephone calls alleged in support of wire fraud

predicate act); Hall v. Tressic, 381 F. Supp. 2d 101, 109 (N.D.N.Y. 2005) (same);

Meier v. Musburger, 588 F. Supp. 2d 883, 907 (N.D. Ill. 2008) (same).




       g(3). Biros Failed to Plead Facts to Support a Violation of 18 USC 1503

       Biros lodges a claim that one predicate act is that Shanni Snyder testified

falsely in violation of 18 USC 1503. However, Congress specifically excluded perjury

from the RICO offenses. See 18 USC 1961(1). Yet, Biros does not explain the

element of “corruptly” in her RICO lawsuit when, in reality, she is merely stating that

Ms. Snyder somehow committed perjury. Proof of perjury alone is insufficient to

sustain a section 1503 violation. United States v. Perkins, 748 F.2d 1519, 1528 (11th

Cir. 1984). Therefore, the predicate act of 18 USC 1503 must fail.


       h. Biros Lacks Standing to Raise the George Snyder Bankruptcy Fraud
          Predicate Act

       According to Biros, one predicate act is that George Snyder filed a claim in

the bankruptcy seeking payment for work he did at U Lock while placing on the

schedules that the company has no salaried employees. Biros simply does not

understand that the common definition of employee (W-2 employee receiving a

salary) and the Fair Labor Standards Act diverge as explained in the introduction.

       Regardless, the lodging of this claim has nothing to do with the so-called Lien

Enterprise. Furthermore, Biros knew at all times material what her position was as to

the claim and, therefore, could not have been damaged by the information in it.

Simply put, there can be no misrepresentation if the plaintiff knows the
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representation to be false. See Ideal Dairy Farms, Inc. v. John Labatt, Ltd., 90 F.3d

737, 747 (3d Cir. 1996) (holding that there could be no mail fraud predicate based on

the defendant’s “scheme” to charge the plaintiff more than the contract price because

the plaintiff admitted that it knew that the defendant was not complying with the

contract). For that reason, Biros cannot raise a claim that her business was

somehow harmed or damaged by the claim and, therefore, she lacks standing to

raise this issue. 18 USC 1964(c).

        To have standing to assert a civil claim under RICO, a plaintiff must make

“two related but analytically distinct threshold showings . . . : (1) that the plaintiff

suffered an injury to business or property; and (2) that the plaintiff’s injury was

proximately caused by the defendant’s violation of 18 U.S.C. § 1962.” Maio v. Aetna,

Inc., 221 F.3d 472, 482 (3d Cir. 2000). If a plaintiff does not have standing to assert a

RICO claim, the claim must be dismissed. Allegheny Gen. Hosp. v. Phillip Morris,

Inc., 228 F.3d 429, 435 (3d Cir. 2000).

       Because the so-called predicate act as to George Snyder’s asking the

bankruptcy court to award him a portion of the bankruptcy estate does not involve

the so-called lien scheme and does not affect Biros, it cannot be a predicate act.


       i. The George Snyder Predicate Act is not Distinct from George Snyder
          and has Nothing to Do with the Purported Lien Enterprise

       Considering that the claim in the bankruptcy did not have anything to do with

Biros’ property and did not create and so-called “lien” on it, it has nothing to do with

the Shanni Snyder enterprise.

       Therefore, Biros cannot meet the “relatively undemanding standard of Boyle”

insomuch as the allegations “fail[ed] the basic requirement that the components

function as a unit, that they be ‘put together to form a whole.’ ” In re Ins. Brokerage
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Antitrust Litig., 618 F.3d 300, 374 (3d Cir. 2010) (quoting Boyle, 556 U.S. at 945, 129

S.Ct. 2237).

       The George Snyder predicate act relates to his filing a claim in the bankruptcy

simply asking to share in proceeds based on the failure of U Lock to pay him any

compensation over the years. Obviously, the filing of this claim has no relation to

Shanni Snyder’s lawsuit or her placing U Lock into bankruptcy.

       In its opinion in H.J. Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229 (1989),

the Supreme Court set out its second analysis of the requirements of civil RICO. The

Court concluded that “to prove a pattern of racketeering activity a plaintiff must show

that the racketeering predicates are related, ” Id. at 239.

       Under the first, or “relatedness,” requirement of the RICO statute, as

interpreted in H.J. Inc., predicate acts are related if they “have the same or similar

purposes, results, participants, victims, or methods of commission, or otherwise are

interrelated by distinguishing characteristics and are not isolated events.” Id. at 240.

       Certainly, it cannot be said that the filing of the claim has the “same or similar

purposes” which, according to Biros, is to deprive it of a piece of real property. On

the contrary, it was simply a claim to share in a pool of assets. Additionally, the

participants certainly differ. George Snyder filed the claim on his own for himself. If

George Snyder’s claim is ultimately granted, only he will receive proceeds.

Undersigned counsel did not represent him on the claim.

       For this reason, the George Snyder predicate act lacks the required

relationship to the other predicate acts and cannot be considered when determining

if there was an enterprise.
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       k. This Court Must Strike, Pursuant to F.R.Cv.P. 12(f), the Immaterial,
          Impertinent, and Scandalous Allegations Pertaining to the “Legal
          Drafters” found at Paragraphs 65, 85, 98, 109, 112, 129, 157, 175, 176,
          177, 201, 202, and 203 of the Complaint.

       Throughout Biros’ Complaint, she repeatedly alleges that “Legal Drafters” may

have assisted Shanni in drafting various legal documents. This is nothing but Biros

seeking an opportunity to interfere with the work product of all of the parties by

opening the door to having someone testify about every step they took in drafting

legal papers. Indeed, in the related bankruptcy documents, Biros’ counsel subjected

her to various questions about the software she uses, the databases she accesses,

etc. Worse, George Snyder and Kash Snyder have pointedly been asked about their

conversations with the undersigned, why certain legal decisions were made, and

other protected matters. This must stop.

       These allegations consume a large amount of the Complaint and apparently

are meant to insinuate wrongdoing.

       Allowing these allegations to stand will drastically increase the cost of

litigating this action if it survives the Motion to Dismiss, including discovery disputes

and interlocutory appeals to protect the work product.

       Indeed, the allegations of “Legal Drafters” consumes 13 paragraphs in just

the Complaint– all repeating that Ms. Snyder potentially received help. See

Complaint, ¶¶65, 85, 98, 109, 112, 129, 157, 175, 176, 177, 201, 202, and 203.

       While the undersigned does not have knowledge as to whether Ms. Snyder,

who has litigated pro se in state and federal courts for the last fifteen (15) years, is

receiving advice, it simply is not Biros’ business and is not a matter that can be

properly litigated through this action. It is simply “immaterial, impertinent” material.

       In Pennsylvania, pro se litigants may receive help with legal research and

drafting legal pleadings from attorneys without any disclosure to the parties or the
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Court. See Pennsylvania Bar Association Committee on Legal Ethics and

Professional Responsibility and Philadelphia Bar Association Professional Guidance

Committee Joint Formal Opinion 2011-100. In that opinion, the Committee held that,

“A Lawyer Is Not Required Under the Rules of Professional Conduct to Disclose a

Limited Scope Engagement to an Opposing Party or to the Court in a Litigation

Matter.”

       This practice of anonymously drafting documents for pro se litigants is called

“legal ghostwriting,” and the American Bar Association (ABA) Standing Committee

on Ethics and Professional Responsibility has recognized it as a form of “unbundling”

of legal services, or limited scope representation. ABA Standing Comm. on Ethics &

Prof’l Responsibility, Formal Op. 07-447 (2007). The committee stated that

“[l]itigants ordinarily have the right to proceed without representation and may do so

without revealing that they have received legal assistance in the absence of a law or

rule requiring disclosure.” Id. at 2.

       Paragraphs 175-176 and 202-203 go so far as to directly infer wrongdoing by

Shanni Snyder through not disclosing any help or advice– which is her work product

– notwithstanding the ethical opinions from Pennsylvania since 2011 that specifically

hold that disclosure to the other parties is not necessary.

       For these reasons, a RICO lawsuit certainly is not the place to test the validity

of advice provided by ethics committees within Pennsylvania that both attorneys and

litigants are entitled to reasonably rely upon.

       This Court needs to strike these paragraphs to take how a person writes their

legal pleadings out of the inquiry.
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       l. Biros Fails to State a Claim for Slander of Title or Conspiracy

       At Counts III and IV, Biros raises a slander of title claim and a conspiracy to

slander title claim. In it, she complains of the filing of a judgment against U Lock,

Inc., not Biros. In addition, Biros cites a writ of summons and lis pendens.

Obviously, Shanni Snyder believes she was a creditor of U Lock and had a plausible

claim as the Pennsylvania Uniform Voidable Transactions Act, 12 Pa.C.S. 5101, et.

seq. Indeed, Shanni Snyder purchased the claims from the bankruptcy trustee and

an action to void the transaction remains pending. Snyder as assignee of Slone,

Trustee, v. Biros, 23-ap-2020 (Bk.W.Pa.).

       Regardless, Biros fails to make a claim for for slander to title. Slander, or

disparagement, of title is the ―the false and malicious representation of the title or

quality of another‘s interest in goods or property Pro Gold Mfg. v. Tribune Review

Newspaper Co., 809 A.2d 243, 247 (Pa. 2002). To plead a valid slander of title claim,

a plaintiff must allege: (1) a false statement; (2) the publisher either intends the

publication to cause pecuniary loss or reasonably should recognize that publication

will result in pecuniary loss; (3) pecuniary loss does in fact result; and (4) the

publisher either knows that the statement is false or acts in reckless disregard of its

truth or falsity. Pro Golf Mfg., 809 A.2d at 246 (citing Restatement (Second) of Torts

§ 623(A) (1977)); accord Lincoln v. Magnum Land Servs., LLC, 2013 WL 2443926,

at *5 (M.D. Pa. June 5, 2013).

       Biros alleges no facts from which this Court can infer that the judgment itself

or a writ of summons coupled with a lis pendens was disparaging, false, or done with

malice. See In re Bennett, 531 B.R. 68, 79 (Bankr. E.D. Pa. 2015) (holding that a

debtor did not state a plausible claim against mortgagee for slander of title when he

did not state facts to support malice element).
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       Moreover, Biros does not allege, with any specificity, that she suffered special

damages as a result of the actions.. Allegations of pecuniary loss cannot be

speculative. See Zerpol Corp v. DMP Corp., 561 F. Supp. 404, 409 (E.D. Pa. 1983)

(plaintiff alleging disparagement or slander of title must ―plead and prove pecuniary

loss); Surgical Laser Tech., Inc. v. Heraeus Lasersonics, Inc., 1994 WL 637353, at *1

(E.D. Pa. Nov. 10, 1994) (noting that, under Pennsylvania law, a slander of title claim

requires proof of special damages and must be pled with specificity).

       Indeed, Biros at all times maintained a remedy as to the lis pendens. All she

needed to do was file a petition to strike it. As to the writ of summons, Biros merely

had to file a rule upon Shanni Snyder to file a complaint.

       Because the allegations do not give rise to a slander of title action, Counts III

and IV must fail.


       m. Count IV Fails to Allege an Overt Act

       Even if Count III can proceed, Pennsylvania requires more than just a meeting

of the minds to advance a conspiracy claim. Biros must plead: (1) a combination of

two or more persons acting with a common purpose to do an unlawful act or to do a

lawful act by unlawful means or for an unlawful purpose; (2) an overt act done in

pursuance of the common purpose; and (3) actual legal damage. Proof of malice or

an intent to injure is essential to the proof of a conspiracy. Strickland v. University of

Scranton, 700 A.2d 979, 987-88 (Pa.Super.Ct.1997); see also Skipworth v. Lead

Indus. Ass'n, Inc., 547 Pa. 224, 690 A.2d 169, 174 (Pa.1997).

       While Biros makes boilerplate allegations, considering Pennsylvania’s

requirement that special damages be pled with specificity, none of it is sufficient.
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       n. Counts III and IV are Barred by the One Year Statute of Limitations

       The undersigned seeks judgment on the pleadings as to this issue. Biros

attaches the documents to her Complaint. This Court can take judicial notice

pursuant to F.R.E. 201(d) that these events occurred over one year ago. Therefore,

the action is barred pursuant to 42 Pa.C.S.A. § 5523; Pro Golf Manufacturing v.

Tribune Review Newspaper Company, 570 Pa. 242, 809 A.2d 243 (2002).


       o. Counts V and VI Fail to State a Claim for Fraud

       First, Biros fails to allege with particularity any economic damage resulting

from the alleged fraud. “[I]ntentional misrepresentation claims are generally

preempted by the economic loss rule,” except where “a defendant committed fraud

to induce another to enter a contract.” Reilly Foam Corp. v. Rubbermaid Corp., 206

F. Supp. 2d 643, 658 (E.D. Pa. 2002). In this case, Biros fails to explain her

economic loss except to aver some attorney fees as a result of litigating.

       Second, Biros cites Rule 11, F.R.Cv.P. as a basis for her fraud claim.

However, Rule 11 does not create a private cause of action. Hofmann v. Fermilab

NAL/URA, 205 F. Supp. 2d 900, 904 (N.D. Ill. May 30, 2002) (“Rule 11 affords no

private right of action.”); New York News, Inc. v. Newspaper and Mail Deliverers’

Union, 139 F.R.D. 291, 293 n.1 (S.D.N.Y. 1991), aff’d, 972 F.2d 482 (2d Cir. 1992).

See also In re 72nd St. Realty Assocs., 185 B.R. 460, 473 (Bankr. S.D.N.Y. 1995)

(same analysis applies under Bankruptcy Rule 9011).

       Third, Biros failed to plead the elements of fraud which are: (1) a

representation was made; (2) that is material to the transaction; (3) made falsely,

with knowledge of falsity or with recklessness regarding its truth or falsity; (4) with

the intent leading another to rely on it; (6) which is justifiably relied upon; and, (7) the

resulting injury was proximately caused by the reliance. Bortz v. Noon, 729 A.2d 555,
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559 (Pa. 1999). Specifically, Biros did not allege that she justifiably relied on any

representations.

       Therefore, the claim must be dismissed.


       p. Biros’ Allegations Fail to Plead Aiding and Abetting Fraud

       At Count VI, Biros sues for aiding and abetting fraud. This is a recently

recognized tort by Pennsylvania’s Supreme Court. Marion v. Bryn Mawr Trust Co.,

No. 72 MAP 2021, 2023 WL 308110 (Pa. Jan. 19, 2023).

       To sue for aiding and abetting fraud, Biros must “allege a scienter of actual

knowledge” which strikes the right balance between permitting redress for fraud

victims on the one hand and protecting defendants from excessive costs and liability

on the other. Id.

       The Pennsylvania Supreme Court noted that The Restatement (Second) of

Torts recognizes aiding and abetting fraud as a cause of action, holding a person

liable where he `knows that the other's conduct constitutes a breach of duty and

gives substantial assistance or encouragement to the other so to conduct

himself….,” something that Biros does not fully aver in her Complaint.

       The only thing Biros accuses the defendants of is not responding to a lawsuit,

something that is their prerogative to do. In other words, mere silence is not fraud if

there is no duty to speak. Wilson v. Donegal Mutual Insurance Co., 410 Pa. Super.

31, 598 A.2d 1310 (1991); Smith v. Renaut, 387 Pa. Super. 299, 564 A.2d 188

(1989). Biros fails to plead what duty the defendants had to respond to the lawsuit.

       The other allegations, relating to filing documents, were all done with Biros

having an opportunity to be heard and cannot plausibly aid a specific fraud since she

had a full and fair opportunity to litigate the matter.

       Therefore, Count VI must be dismissed.
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       q. Biros’ Claim for Abuse of Process and Conspiracy Fails

       At Counts VII and VIII, Biros sues for abuse of process and conspiracy to

abuse process. To establish a claim for abuse of process it must be shown that the

defendant (1) used a legal process against the plaintiff, (2) primarily to accomplish a

purpose for which the process was not designed; and (3) harm has been caused to

the plaintiff. Abuse of process is, in essence, the use of legal process as a tactical

weapon to coerce a desired result that is not the legitimate object of the process.

Thus, the gravamen of this tort is the perversion of legal process to benefit someone

in achieving a purpose which is not an authorized goal of the procedure in question.

Werner v. Plater-Zyberk, 799 A.2d 776, 785 (Pa. Super. 2002) (citations omitted).

See Weiss v. Equibank, 460 A.2d 271, 276 (Pa. Super. 1983 (“If the plaintiff sues the

defendant on a valid cause of action but brings the suit, for example, not to collect

his just debt but for a collateral purpose such as blackmail the action is a malicious

abuse of process”).

       Unlike this RICO action, the documents filed were clearly done so for the

purpose on their face. It is true that perhaps Shanni Snyder sought an advantage by

racing to the courthouse– something that she probably should have been done even

faster– but that is the law of judgments. United States v. Estate of Romani, 523 U.S.

517 (1998)(Pennsylvania judgment creditor’s lien valid and with priority if filed prior to

other liens, even tax liens).

       As to conspiracy, again Biros fails to allege the elements of civil conspiracy,

particularly what overt acts are attributable to which defendants. Strickland v.

University of Scranton, 700 A.2d 979, 987-88 (Pa.Super.Ct.1997); see also

Skipworth v. Lead Indus. Ass'n, Inc., 547 Pa. 224, 690 A.2d 169, 174 (Pa.1997).
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       r. Counts IV, VI, and VIII Must Fail as the Allegations Show a Benefit to
          the Defendants’ Business Interests

       As explained by Biros, the purpose of Shanni Snyder’s filings were to advance

her position that she was owed money and entitled to a lien. U Lock obviously had a

business interest in reorganization under the bankruptcy code and challenging what

it construed as improper conduct. This is obvious from the legal pleadings.

       To proceed under civil conspiracy, the Plaintiff must show actual malice. If the

facts show that the defendant acted to advance his or her own professional or

business interests, “[t]his necessary proposition is negated.” Bro-Tech Corp. v.

Thermax, Inc., 651 F. Supp. 2d 378, 419 (E.D. Pa. Sept. 3, 2009); see also Spitzer v.

Abdelhak, 1999 U.S. Dist. LEXIS 19110, at *9 (E.D. Pa. 1999)(granting motion to

dismiss civil conspiracy claim where the plaintiff alleged that the purpose of the

conspiracy was for the defendant to benefit itself personally and professionally).

Thus, where a plaintiff’s case relies on the theory that the defendants “acted for their

business advantage and benefit” a civil conspiracy claim is “not [] tenable because

[p]laintiffs’ evidence belies the notion that [d]efendants acted without a business

motive, but purely out of malice.” Id. (dismissing civil conspiracy claim); see also

Guaranty Towers, LLC v. Cellco Partnership, Civ. No. 1:CV-07-0554, 2007 U.S. Dist.

LEXIS 65819, at *6 (M.D. Pa. Sept. 6, 2007) (granting motion to dismiss civil

conspiracy claim where the plaintiffs’ theory of the claim stated that the defendants

acted to obtain more revenue).

       Because the documents show the parties were advancing their business

purposes, the civil conspiracy claims must fail.
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       IV. CONCLUSION

       Based on the above, to allow this action to proceed would be inappropriate

considering the malicious nature of the lawsuit, the defects therein, and the effect it

would have on related proceedings and the attorney-client privilege, work product,

and the ability to mount a defense against legal errors. Therefore, the Complaint

must be dismissed or judgment granted on the pleadings. In the alternative, the

impertinent material must be stricken.


                                                 Respectfully submitted,


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